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 1                                                                    Honorable John C. Coughenour
                                                                      Honorable Richard A. Jones
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 7                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9
      UNITED STATES OF AMERICA,                               CASE NO. CR20-092JCC
10
                             Plaintiff,
11
                        v.                                    NOTICE OF RELATED CASES
12
      ALAN GOMEZ-MARENTES, et al.,
13
14                           Defendants.
15    UNITED STATES OF AMERICA,                               NO. CR20-217RAJ
16                           Plaintiff,
17                      v.                                     NOTICE OF RELATED CASES
18    CESAR VALDEZ-SANUDO, et al.,
19                           Defendants.
20
21         Comes now the United States of America, by Brian T. Moran, United States
22 Attorney for the Western District of Washington, and Amy Jaquette and Marci L.
23 Ellsworth, Assistant United States Attorneys for said District, and respectfully submits
24 the following Notice of Related Cases pursuant to Local Criminal Rule 13(a) and (b).
25 The two cases captioned above are related cases.
26         On July 23, 2020, the Grand Jury charged Alan GOMEZ-MARENTES and 18
27 other members of a large drug trafficking organization (DTO) with one count of
28
                                                                               UNITED STATES ATTORNEY
     NOTICE OF RELATED CASES                                                  700 STEWART STREET, SUITE 5220
     United States v. ALAN GOMEZ-MARENTES, et al., CR 20-092JCC                 SEATTLE, WASHINGTON 98101
     United States v. CESAR VALDEZ-SANUDO, et al., CR 20-217RAJ – 1                  TEL: 206-553-7970
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 1 Conspiracy to Distribute Controlled Substances, in violation of Title 21, United States
 2 Code, Sections 841(a)(1), 841(b)(1) and 846 (Count 1), and two of those individuals in a
 3 related count of Conspiracy to Commit Money Laundering (Count 4), in violation of Title
 4 18, United States Code, Section 1956. (CR 20-092JCC, Dkt. 1.) On July 28, 2020,
 5 agents arrested many of the 19 indicted defendants during a coordinated takedown of the
 6 investigation. On August 7, 2020, the grand jury returned a Superseding Indictment
 7 charging a number of substantive counts and adding one additional defendant. (CR 20-
 8 092JCC, Dkt. 152.)
 9          The July 28, 2020 takedown was the culmination of more than a year of
10 investigation into a DTO distributing multi-kilogram quantities of narcotics in Western
11 Washington. The investigation was led by the Drug Enforcement Administration, in
12 partnership with Homeland Security Investigations, the Bureau of Alcohol, Tobacco,
13 Firearms, and Explosives, and the Federal Bureau of Investigation. The investigation
14 began in January 2019 and involved numerous periods of court-authorized wiretaps,
15 controlled purchases of drugs using confidential sources, and hundreds of hours in
16 physical and electronic surveillance.
17          At the time of the takedown in CR 20-092 JCC, investigators elected to hold off
18 on indicting (or arresting) a subset of the targets of the investigation – specifically, Cesar
19 VALDEZ-SANUDO and his criminal associates. Rather, agents continued to investigate
20 this group of individuals and received court-authorization to conduct additional wiretaps.
21          On December 9, 2020, the Grand Jury returned an Indictment charging this subset
22 of the larger investigation in a separate conspiracy. This Indictment charged 11 members
23 of a DTO with one count of Conspiracy to Distribute Controlled Substances, in violation
24 of Title 21, United States Code, Sections 841(a)(1), 841(b)(1) and 846 (Count 1), and two
25 of those individuals in a related count of Conspiracy to Commit Money Laundering
26 (Count 3), in violation of Title 18, United States Code, Section 1956. (CR20-217RAJ,
27 Dkt. 1.) On December 16, 2020, agents arrested the 11 indicted defendants during a
28 coordinated takedown of the investigation.
                                                                           UNITED STATES ATTORNEY
     NOTICE OF RELATED CASES                                              700 STEWART STREET, SUITE 5220
     United States v. ALAN GOMEZ-MARENTES, et al., CR 20-092JCC             SEATTLE, WASHINGTON 98101
     United States v. CESAR VALDEZ-SANUDO, et al., CR 20-217RAJ – 2              TEL: 206-553-7970
             Case 2:20-cr-00092-JCC Document 339 Filed 12/21/20 Page 3 of 3




1          These two cases are related, as they rely in large part on the same wiretap
2 pleadings, involve common co-conspirators, and contain instances of overlapping
3 surveillance. Due to the overlap between the two cases (CR20-092JCC and CR20-
4 217RAJ), the United States files this notice of related cases and requests that both cases
5 be assigned to the same judge. The United States does not intend to join the cases for
6 trial; however, it does seek to litigate any challenges to the underlying investigation –
7 which will necessarily rely on common issues of law and fact – before the same Court.
8          DATED this 21st day of December, 2020.
9                                                 Respectfully submitted,
10
                                                  BRIAN T. MORAN
11                                                UNITED STATES ATTORNEY
12
                                                  /s/ Amy Jaquette
13                                                AMY JAQUETTE
                                                  MARCI L. ELLSWORTH
14
                                                  Assistant United States Attorneys
15                                                700 Stewart Street, Suite 5220
                                                  Seattle, Washington 98101
16
                                                  amy.jaquette@usdoj.gov
17                                                (206) 553-7970
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                                                                             UNITED STATES ATTORNEY
     NOTICE OF RELATED CASES                                                700 STEWART STREET, SUITE 5220
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